          Case 2:08-cv-05801-PBT Document 10 Filed 01/07/10 Page 1 of 1



                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                         :
 TROY ALLISON,                                           :
                         Plaintiff,                      :
                                                         :           CIVIL ACTION
                 v.                                      :
                                                         :           NO. 08-5801
                                                         :
 PENNCRO ASSOCIATES, INC.,                               :
                  Defendant.                             :
                                                         :


                                   MODIFIED SCHEDULING ORDER

       AND NOW, this ___of January, 2010, IT IS HEREBY ORDERED AND DECREED that this Court’s

May 12, 2009 Scheduling Order (Doc. 8) is MODIFIED as follows:


               1.       All motions for summary judgment or partial summary judgment shall be filed or

                        served on or before Monday, March 1, 2010;

               2.       The party against whom the motion for summary judgment is addressed shall file and

                        serve a response on or before Monday, March 15, 2010;

               3.       A reply of a moving party must be filed not later than ten (10) days after the response is

                        served; and

               4.       This case will be placed on the Court’s Trial List on Monday, June 14, 2010.

       All other provisions of this Court’s May 12, 2009 Scheduling Order remain in effect.




                                                             BY THE COURT:

                                                             /s/ Petrese B. Tucker
                                                             ____________________________
                                                             Hon. Petrese B. Tucker, U.S.D.J.
